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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES FOR THE USE AND
BENEFIT OF INTERSTATE HEATING, INC.,                         ANSWER

                       Plaintiff,                            6:24-CV-06342 (EAW)

       v.

FRANKENMUTH MUTUAL INSURANCE
COMPANY,

                       Defendant.


       Defendant Frankenmuth Mutual Insurance Company (hereinafter “Frankenmuth”),

by and through its attorneys, Adams Leclair, LLP, for its Answer to the Complaint of Use

Plaintiff Interstate Heating, Inc. (hereinafter “Interstate”), states as follows:

       1.      Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in paragraph “1” of the Complaint.

       2.      Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in paragraph “2” of the Complaint.

       3.      Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in paragraph “3” of the Complaint.

       4.      With respect to the allegations contained in paragraph “4” of the Complaint,

admits that Frankenmuth is an insurance company domiciled in Michigan, which is now

known as “Frankenmuth Insurance Company,” admits that Frankenmuth’s principal

address is 1 Mutual Avenue, Frankenmuth, MI 48787, and denies the remaining allegations

paragraph “4” of the Complaint.

       5.      Admits, upon information and belief, the allegations contained in paragraph
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“5” of the Complaint.

       6.      With respect to the allegations contained in paragraph “6” of the Complaint,

admits that Frankenmuth issued a certain payment bond to Foxtrot Construction Inc.

(hereinafter “Foxtrot”), and respectfully refers the Court to the referenced Bond and the

Miller Act (40 U.S.C. § 3131 et seq.) for a statement of its terms, conditions, and legal effect,

and denies the remaining allegations in paragraph “6” of the Complaint.

       7.      Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in paragraph “7” of the Complaint.

       8.      Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in paragraph “8” of the Complaint.

       9.      Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in paragraph “9” of the Complaint.

                              First Cause of Action – Miller Act

       10.     Frankenmuth repeats and realleges its responses to paragraphs “1 through 9”

as set forth fully and at length herein.

       11.     Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in paragraph “11” of the Complaint.

       12.     Denies the allegations contained in paragraph “12” of the Complaint.

       13.     Denies the allegations contained in paragraph “13” of the Complaint.

       14.     Denies the allegations contained in paragraph “14” of the Complaint.

       15.     Denies any allegation not heretofore specifically admitted, denied or

otherwise controverted.




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                                  AFFIRMATIVE DEFENSES

                             FIRST AFFIRMATIVE DEFENSE

       16.     Plaintiff’s claims are barred, in whole or in part, because per the Subcontract,

Plaintiff is obligated to arbitrate any dispute between Plaintiff and Foxtrot.

                           SECOND AFFIRMATIVE DEFENSE

       17.     Plaintiff’s claims are barred, in whole or in part, by Plaintiff’s failure to fully

and/or properly perform its contractual obligations.

                             THIRD AFFIRMATIVE DEFENSE

       18.     Plaintiff’s claims are barred, in whole or in part, by Plaintiff’s failure to state a

claim upon which relief can be granted.

                           FOURTH AFFIRMATIVE DEFENSE

       19.     Plaintiff’s claims are barred, in whole or in part, by the applicable statute of

limitations.

                             FIFTH AFFIRMATIVE DEFENSE

       20.     Upon information and belief, this Court lacks subject matter jurisdiction over

some or all Plaintiff’s claims.

                             SIXTH AFFIRMATIVE DEFENSE

       21.     Plaintiff’s claims are barred, in whole or in part, because, upon information

and belief, some or all the damages sought by Plaintiff are not recoverable under the

payment Bond.

                           SEVENTH AFFIRMATIVE DEFENSE

       22.     Plaintiff’s claims are barred, in whole or in part, by the express and/or

implied terms of any applicable contract.


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                            EIGHTH AFFIRMATIVE DEFENSE

       23.    Plaintiff’s claims are barred, in whole or in part, by payment and release.

       WHEREFORE, Defendant demands the dismissal with prejudice of Plaintiff’s

Complaint, along with reasonable attorneys’ fees, costs of suit, interest and any other relief

the Court deems just and proper.

Dated: August 12, 2024
       Rochester, New York

                                                ADAMS LECLAIR LLP

                                        By:     /s/ Theodore M. Baum
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